FILED: NEW YORK COUNTY CLERK 11/08/2019 09:29 AM                             INDEX NO. 160694/2019
NYSCEF DOC. NO. 8Case 1:20-cv-07311-LAK Document 14-8 Filed 09/15/20 Page 1 of 2NYSCEF: 11/08/2019
                                                                     RECEIVED




                             EXHIBIT B
MyFILED:
   Voter Detail Release
                 NEW Version
                        YORK3.0COUNTY
                               4                                   https://voterlookup.elections
                                               CLERK 11/08/2019 09:29      AM                    ny gov/VoterDetailScreen.aspx
                                                                                             INDEX    NO. 160694/2019
   NYSCEF DOC. NO. 8Case 1:20-cv-07311-LAK Document 14-8 Filed 09/15/20 Page 2 of 2NYSCEF: 11/08/2019
                                                                        RECEIVED




         NYSVoter Public Information - Voter Registration and Poll Site Search Close
         Results
         County BOE Contact Information


         Polling Place Information

         Early Voting Poll Site


         For Early Voting locations and times in your area, please follow this link
         through to your county Board of Elections website County BOE Contact
         Information


         Election Day Poll Site

              Please click on the following link to find your polling place

                           https://nyc.pollsitelocator.com/search



          Voter Information
         Name                  : DONALD J TRUMP
         Residential         : 721 5 AVENUE PH, NEW YORK, NY
         Address               10022-1002
         Mailing Address (if :
         any)
         Political Party     : Republican
         Voter Status          : Active



          Voter District Information
         Election District     : 46          County Legislative : 0
                                             District
         Senate District       : 28          Assembly District  : 73
         Congressional         : 12          Town                   : NEW YORK
         District
         Ward                  :




1 of 1                                                                                                       11/4/2019, 12:09 PM
